UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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SEUNG-YONG OK,

                                                             Plaintiff,      ANSWER

                              -against-                                      18 Civ. 0392 (BMC)

NEW YORK CITY DEPARTMENT OF EDUCATION;
TYEE CHIN, FORMER PRINCIPAL OF FLUSHING
HIGH SCHOOL, IN HIS OFFICIAL AND
INDIVIDUAL   CAPACITY;   LUIS   AGUIRRE
AMAYA, ASSISTANT PRINCIPAL OF FLUSHING
HIGH SCHOOL, IN HIS OFFICIAL AND
INDIVIDUAL CAPACITY,

                                                          Defendants.
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                  Defendants, by their attorney, Zachary W. Carter, Corporation Counsel of the

City of New York, for their answer to the Complaint, respectfully allege as follows:

                  1.       Deny the allegations set forth in paragraph “1” of the Complaint, except

admit that plaintiff purports to proceed as set forth in that paragraph.

                  2.       Paragraph “2” of the Complaint does not set forth any allegations

requiring a response. To the extent that a response is required, defendants admit that plaintiff

purports to proceed as set forth in that paragraph.

                  3.       Deny the allegations set forth in paragraph “3” of the Complaint, except

admit that plaintiff purports to invoke the jurisdiction of this Court as set forth in that paragraph.

                  4.       Deny the allegations set forth in paragraph “4” of the Complaint, except

admit that plaintiff purports to invoke the jurisdiction of this Court as set forth in that paragraph.

                  5.       Deny the allegations set forth in paragraph “5” of the Complaint, except

admit that plaintiff purports to invoke the jurisdiction of this Court as set forth in that paragraph.
                 6.     Deny the allegations set forth in paragraph “6” of the Complaint, except

admit that plaintiff purports to invoke the jurisdiction of this Court as set forth in that paragraph.

                 7.     Deny the allegations set forth in paragraph “7” of the Complaint, except

admit that a Notice of Claim, assigned claim number 17PI034604, was filed on or about

December 13, 2017, naming plaintiff as a complainant, and that plaintiff purports to invoke the

jurisdiction of the Court as set forth in this paragraph.

                 8.     Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “8” of the Complaint, except admit that plaintiff self-

identifies as a resident of the County of Queens, New York, and the State of New York.

                 9.     Deny the allegations set forth in paragraph “9” of the Complaint, except

admit that plaintiff is employed by defendant New York City Department of Education (“DOE) 1,

and respectfully refer the Court to New York State Civil Service Law § 75-b(1)(b) for a complete

and accurate statement of its contents. To the extent that the allegations in this paragraph call for

a legal conclusion, no response is required.

                 10.    Deny the allegations set forth in paragraph “10” of the Complaint, except

admit that the DOE is a school board duly organized and existing under the New York Education

Law, that the DOE maintains an office at 52 Chambers Street, New York, New York 10007, and

that plaintiff is employed by DOE, and respectfully refer the Court to New York Education Law

§§ 2590, et seq. for a complete and accurate statement of its contents. To the extent that the

allegations in this paragraph call for a legal conclusion, no response is required.




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    DOE is, formally, the Board of Education of the City School District of the City of New York.

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                11.    Deny the allegations set forth in paragraph “11” of the Complaint, except

admit that defendant Tyee Chin (“Chin”) is employed by DOE, and that Chin was formerly

assigned as Principal of Flushing High School (“FHS”).

                12.    Deny the allegations set forth in paragraph “12” of the Complaint, except

admit that defendant Luis Aguirre Amaya (“Amaya”) is employed by DOE, and that Amaya was

formerly assigned as Assistant Principal of FHS.

                13.    Deny the allegations set forth in paragraph “13” of the Complaint, except

admit that plaintiff began teaching as a substitute teacher within DOE schools beginning

September, 1996.

                14.    Deny the allegations set forth in paragraph “14” of the Complaint.

                15.    Deny the allegations set forth in paragraph “15” of the Complaint, except

admit that plaintiff was appointed as a probationary teacher and assigned to teach at FHS

beginning September, 2010.

                16.    Deny the allegations set forth in paragraph “16” of the Complaint, except

admit that plaintiff received overall “Satisfactory” annual ratings from the 2009-2010 to 2012-

2013 school years, and overall “Effective” annual ratings from the 2013-2014 to 2016-2017

school years.

                17.    Deny the allegations set forth in paragraph “17” of the Complaint.

                18.    Admit the allegations set forth in paragraph “18” of the Complaint.

                19.    Deny the allegations set forth in paragraph “19” of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations set forth in

paragraph “19” of the Complaint concerning the thoughts of teachers other than plaintiff, and

admit that plaintiff sent an email to Chin dated December 2, 2015.



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                20.   Admit the allegations set forth in paragraph “20” of the Complaint.

                21.   Deny the allegations set forth in paragraph “21” of the Complaint, except

admit that Chin responded to plaintiff’s December 2, 2015 email and refer the Court to the

referenced email for a complete and accurate statement of its contents.

                22.   Deny the allegations set forth in paragraph “22” of the Complaint, except

admit that Chin, plaintiff, and other teachers assigned to teach at FHS used DOE email to discuss

FHS matters and refer the Court to the referenced emails for a complete and accurate statement

of their contents.

                23.   Deny the allegations set forth in paragraph “23” of the Complaint, except

admit that plaintiff emailed Carmen Sotomayor (“Investigator Sotomayor”), an Investigator in

the office of the City’s Special Commissioner of Investigation (“SCI”) on or about March 28,

2016, regarding conduct by Principal Chin, and refer the Court to the referenced email for a

complete and accurate statement of its contents.

                24.   Deny the allegations set forth in paragraph “24” of the Complaint, except

admit that plaintiff emailed Investigator Sotomayor on or about March 28, 2016, and refer the

Court to the referenced email for a complete and accurate statement of its contents.

                25.   Deny the allegations set forth in paragraph “25” of the Complaint.

                26.   Deny the allegations set forth in paragraph “26” of the Complaint, except

admit that plaintiff emailed Investigator Sotomayor on or about March 28, 2016, and refer the

Court to the referenced email for a complete and accurate statement of its contents.

                27.   Deny the allegations set forth in paragraph “27” of the Complaint.

                28.   Deny the allegations set forth in paragraph “28” of the Complaint, except

admit that Cristina Bunch (“Investigator Bunch”) was employed as an Investigator in DOE’s



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Office of Special Investigations (“OSI”), and that Investigator Bunch investigated plaintiff’s

complaint.

               29.     Deny the allegations set forth in paragraph “29” of the Complaint.

               30.     Deny the allegations set forth in paragraph “30” of the Complaint, except

admit that plaintiff received a Measures of Teacher Practice (“MOTP”) score of “Highly

Effective” for the 2015-16 school year.

               31.     Deny the allegations set forth in paragraph “31” of the Complaint.

               32.     Deny the allegations set forth in paragraph “32” of the Complaint, except

admit that Amaya issued plaintiff a disciplinary letter on November 1, 2016, and refer the Court

to the referenced letter for a complete and accurate statement of its contents.

               33.     Deny the allegations set forth in paragraph “33” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

concerning plaintiff’s survey of other teachers.

               34.     Deny the allegations set forth in paragraph “34” of the Complaint.

               35.     Deny the allegations set forth in paragraph “35” of the Complaint, except

admit that Chin responded to plaintiff’s school-wide email on November 30, 2016, and refer the

Court to the referenced email for a complete and accurate statement of its contents.

               36.     Deny the allegations set forth in paragraph “36” of the Complaint, except

admit that Chin submitted a complaint to SCI on December 2, 2016 regarding plaintiff’s use of

the DOE email system, and refer the Court to the referenced email for a complete and accurate

statement of its contents.




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               37.     Deny the allegations set forth in paragraph “37” of the Complaint, except

admit that plaintiff emailed SCI on December 5, 2016 alleging retaliation by Chin, and refer the

Court to the referenced email for a complete and accurate statement of its contents.

               38.     Deny the allegations set forth in paragraph “38” of the Complaint, except

admit that plaintiff purports to have assisted in drafting a SCI complaint filed by five (5) FHS

math teachers, dated December 7, 2017, and refer the Court to the referenced SCI complaint for

a complete and accurate statement of its contents.

               39.     Deny the allegations set forth in paragraph “39” of the Complaint, except

admit that plaintiff received “Developing,” and “Ineffective” scores in individual components of

the December 15, 2016 lesson observation conducted by Chin.

               40.     Deny the allegations set forth in paragraph “40” of the Complaint, except

admit that Terri Wright (“Wright”) was assigned to FHS as Chin’s secretary during the 2016-

2017 school year, and that Wright emailed plaintiff on January 12, 2017, and refer the Court to

the referenced email for a complete and accurate statement of its contents.

               41.     Deny the allegations set forth in paragraph “41” of the Complaint.

               42.     Deny the allegations set forth in paragraph “42” of the Complaint.

               43.     Deny the allegations set forth in paragraph “43” of the Complaint, except

admit that plaintiff emailed Chin on January 30, 2017 regarding a staff meeting, and refer the

Court to plaintiff’s email for a complete and accurate statement of its contents.

               44.     Deny the allegations set forth in paragraph “44” of the Complaint.

               45.     Deny the allegations set forth in paragraph “45” of the Complaint, except

admit that plaintiff attended an interview conducted by SCI on February 1, 2017.




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               46.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “46” of the Complaint concerning plaintiff’s

communications with another science teacher, except admit that plaintiff emailed Chin, Assistant

Principal   Thomas    Carlomusto     (“A.P.   Carlomusto”),    Superintendent    Michael   Alcoff

(“Superintendent Alcoff”) and former DOE Chancellor Carmen Fariña on February 8, 2017

regarding an altercation between several FHS students, and refer the Court to the referenced

email for a complete and accurate statement of its contents.

               47.    Deny the allegations set forth in paragraph “47” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in paragraph “47” of the Complaint regarding A.P. Carlomusto’s statement that he received

an affirmation from Dean Veronica Mackay about a school bullying incident, and admit that A.P.

Carlomusto responded to plaintiff’s February 8, 2017 email regarding the school bullying

incident, and refer the Court to the referenced email for a complete and accurate statement of its

contents.

               48.     Deny the allegations set forth in paragraph “48” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding the contents of plaintiff’s conversation with the parent of a FHS student.

               49.    Deny the allegations set forth in paragraph “49” of the Complaint, except

admit that Assistant Principal Patricia Cuti (“A.P. Cuti”) gave a presentation during a FHS

Parent Association meeting held on February 15, 2017, that plaintiff addressed attendees to

discuss an altercation between students, and that plaintiff distributed documents regarding credit

accumulation during the meeting.




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               50.    Deny the allegations set forth in paragraph “50” of the Complaint, except

admit that plaintiff attended FHS’s Parent Association meeting on February 15, 2017 and

discussed Regents Examination passing rates of FHS students.

               51.    Deny the allegations set forth in paragraph “51” of the Complaint, except

admit that defendant Amaya issued plaintiff a disciplinary letter dated February 15, 2017,

concerning plaintiff’s documentation of student progress and grades in DOE’s “Skedula”

program, and refer the Court to the referenced letter for a complete and accurate statement of its

contents.

               52.    Deny knowledge or information sufficient to form a belief as to the truth

of the allegations set forth in paragraph “52” of the Complaint, except admit that Amaya

conducted an observation of plaintiff’s teaching on December 13, 2016.

               53.    Deny the allegations set forth in paragraph “53” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations set

forth in paragraph “53” of the Complaint regarding plaintiff’s beliefs concerning the outcome of

his December 13, 2016 lesson observation.

               54.    Deny the allegations set forth in paragraph “54” of the Complaint, except

admit that plaintiff emailed Investigator Carbone on or about March 4, 2017, and refer the Court

to the referenced email for a complete and accurate statement of its contents.

               55.    Deny the allegations set forth in paragraph “55” of the Complaint, except

admit that plaintiff received a “developing” rating in a sub-component of his December 13, 2016

lesson observation.

               56.    Deny the allegations set forth in paragraph “56” of the Complaint, except

admit that defendant Chin issued plaintiff a disciplinary letter dated March 15, 2017 concerning



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plaintiff’s conduct at FHS’s Parent Association meeting on February 15, 2017, and refer the

Court to the referenced disciplinary letter for a complete and accurate statement of its contents.

               57.     Deny the allegations set forth in paragraph “57” of the Complaint.

               58.     Deny the allegations set forth in paragraph “58” of the Complaint, except

admit that Chin issued a letter on or about April 26, 2017 and refer the Court to the referenced

letter for a complete and accurate statement of its contents.

               59.     Deny the allegations set forth in paragraph “59” of the Complaint.

               60.     Deny the allegations set forth in paragraph “60” of the Complaint, except

admit that Jonathan May, a SCI Investigator, interviewed plaintiff and other FHS staff in its

investigation of a complaint filed by Chin concerning plaintiff’s communications with the New

York Post in connection with the article alleging that FHS students were being taught algebra in

their geometry classes.

               61.     Deny the allegations set forth in paragraph “61” of the Complaint, except

admit that Amaya issued plaintiff a lesson observation rating individual components of plaintiff’s

May 26, 2017 lesson as “developing” and “ineffective.”

               62.     Admit the allegations set forth in paragraph “62” of the Complaint.

               63.     Deny the allegations set forth in paragraph “63” of the Complaint, except

admit that Chin issued plaintiff a disciplinary letter dated June 27, 2017, concerning plaintiff’s

failure to keep academic records on his students, and refer the Court to the referenced letter for a

complete and accurate statement of its contents.

               64.     Deny the allegations set forth in paragraph “64” of the Complaint.

               65.     Admit the allegations set forth in paragraph “65” of the Complaint.




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               66.     Admit the allegations set forth in paragraph “66” of the Complaint, except

deny that SCI Report’s findings were inaccurate.

               67.     Admit the allegations set forth in paragraph “67” of the Complaint, and

refer the Court to the referenced letter for a complete and accurate statement of its contents.

               68.     Deny the allegations set forth in paragraph “68” of the Complaint, except

admit that New York Education Law § 3020-a addresses the discipline of tenured teachers, that

DOE preferred disciplinary charges against plaintiff pursuant to § 3020-a on Chin’s

recommendation, and refer the Court to the referenced § 3020-a Charges and Specifications for a

complete and accurate statement of their contents.

               69.     Deny the allegations set forth in paragraph “69” of the Complaint, except

admit that plaintiff was removed from FHS pending resolution of his § 3020-a disciplinary

charges.

               70.     Deny the allegations set forth in paragraph “70” of the Complaint.

               71.     Deny the allegations set forth in paragraph “71” of the Complaint, except

admit that Chin was removed as Principal of FHS on or about October 19, 2017.

               72.     Deny the allegations set forth in paragraph “72” of the Complaint, except

admit that Chin was reassigned following his removal from FHS.

               73.     In response to paragraph “73” of the Complaint, defendants repeat and

reallege their responses to paragraphs “1” through “72” as if fully set forth here.

               74.     Deny the allegations set forth in paragraph “74” of the Complaint, except

to the extent the allegations call for a legal conclusion, no response is required.

               75.     Deny the allegations set forth in paragraph “75” of the Complaint.




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               76.     In response to paragraph “76” of the Complaint, defendants repeat and

reallege their responses to paragraphs “1” through “75” as if fully set forth here.

               77.     Deny the allegations set forth in paragraph “77” of the Complaint, except

to the extent the allegations call for a legal conclusion, no response is required.

               78.     Deny the allegations set forth in paragraph “78” of the Complaint.

               79.     Deny the allegations set forth in paragraph “79” of the Complaint, except

to the extent the allegations call for a legal conclusion, no response is required.

               80.     Deny the allegations set forth in paragraph “80” of the Complaint.

               81.     In response to paragraph “81” of the Complaint, defendants repeat and

reallege their responses to paragraphs “1” through “80” as if fully set forth here.

               82.     Deny the allegations set forth in paragraph “82” of the Complaint, except

to the extent the allegations call for a legal conclusion, no response is required.

               83.     Deny the allegations set forth in paragraph “83” of the Complaint.

               84.     Deny the allegations set forth in paragraph “84” of the Complaint, except

to the extent the allegations call for a legal conclusion, no response is required.

               85.     Deny the allegations set forth in paragraph “85” of the Complaint.

               86.     Deny the allegations set forth in paragraph “86” of the Complaint.

               87.     Paragraph “87” of the Complaint contains no allegations requiring a

response. To the extent that a response is required, defendants admit that plaintiff purports to

proceed as stated in that paragraph.




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                         AS AND FOR A FIRST DEFENSE
                         DEFENDANTS RESPECTFULLY ALLEGE:

                   88.   The Complaint fails to state a claim upon which relief can be granted.

                         AS AND FOR A SECOND DEFENSE
                         DEFENDANTS RESPECTFULLY ALLEGE:

                   89.   Any damages sustained by plaintiff were caused by plaintiff’s own

negligent or otherwise culpable conduct.

                   90.   The damage claims contained in the Complaint are barred, in whole or in

part, by plaintiff’s failure to mitigate damages.

                         AS AND FOR A THIRD DEFENSE
                         DEFENDANTS RESPECTFULLY ALLEGE:

                   91.   The Complaint’s request for punitive damages is barred because punitive

damages are not available against a government or a governmental subdivision.

                         AS AND FOR A FOURTH DEFENSE
                         DEFENDANTS RESPECTFULLY ALLEGE:

                   92.   Defendants had legitimate, non-discriminatory, non-retaliatory business

reasons for taking all of the employment acts complained of in the Complaint. At all times

relevant to the Complaint, defendants acted lawfully, properly, rationally, without malice and in

good faith.

                         AS AND FOR A FIFTH DEFENSE
                         DEFENDANTS RESPECTFULLY ALLEGE:

                   93.   The Complaint is barred, in whole or in part, by the doctrines of claim

preclusion, issue preclusion, res judicata, collateral estoppel, judicial estoppel or any combination of

these doctrines.




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                      AS AND FOR A SIXTH DEFENSE
                      DEFENDANTS RESPECTFULLY ALLEGE:

               94.    The Complaint is barred, in whole or in part, by plaintiff’s failure to exhaust

administrative remedies.

                      AS AND FOR A SEVENTH DEFENSE
                      DEFENDANTS RESPECTFULLY ALLEGE:

               95.    Defendants Chin and Amaya are immune from suit under 42 U.S.C. §

1983 under the doctrine of qualified immunity.

                      AS AND FOR AN EIGTH DEFENSE
                      DEFENDANTS RESPECTFULLY ALLEGE:

               96.    Even assuming that plaintiff engaged in speech protected by the First

Amendment, and that such speech was a substantial or motivating factor in the decision to take

any of the complained of employment actions, defendants are not liable because they would have

made the same decision in the absence of such speech.




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               WHEREFORE, defendants respectfully request that the Complaint be dismissed

in its entirety, that the relief requested be denied in all respects, that judgment be entered for

defendants, and that defendants be granted costs, fees, and expenses together with such other

and further relief as the Court deems just and proper.

Dated:         New York, New York
               January 24, 2019

                                                       ZACHARY W. CARTER
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                                             By:       [ECF]                /S/
                                                                   Cassandra N. Branch
                                                               Assistant Corporation Counsel




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